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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on August 1, 2024

UNITED STATES OF AMERICA : CASE NO. 24-mj-382
v. GRAND JURY ORIGINAL
JEAN ROBERT CASIMIR, VIOLATIONS:
Defendant. 18 U.S.C. § 371
: (Conspiracy)

50 U.S.C. § 4819
(Export Control Reform Act)

18 U.S.C. § 554 (Smuggling)

INDICTMENT

The Grand Jury charges that, at all times material to this Indictment, on or about the dates

stated below:
The Defendant

1. Defendant JEAN ROBERT CASIMIR (“CASIMIR”) is a naturalized U.S. citizen

from Haiti who resided near West Palm Beach, Florida.
Legal Background
The Export Control Reform Act of 2018

2. The Export Control Reform Act of 2018 (“ECRA”) provides, among its stated policy
objectives, that the national security and foreign policy of the United States require that the export,
reexport and in-country transfer of items . . . be controlled.” 50 U.S.C. § 4811(2). To that end,
ECRA grants the President the authority “to control . . . the export, reexport, and in-country transfer

of items subject to the jurisdiction of the United States, whether by United States persons or by
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foreign persons.” Id. § 4812(a). ECRA further grants the Secretary of Commerce the authority to
establish the applicable regulatory framework.

3. Pursuant to that and prior authority, the Department of Commerce’s Bureau of
Industry and Security (“BIS”) reviews and controls the export of certain items, including goods,
software, and technologies, from the United States to foreign countries through the Export
Administration Regulations (“EAR”). BIS is located in the District of Columbia.

4. In particular, the EAR restrict the export of items that could make a significant
contribution to the military potential of other nations or that could be detrimental to the foreign
policy or national security of the United States. The EAR impose licensing and other requirements
for certain items to be lawfully exported from the United States or lawfully reexported from one
foreign destination to another. Pursuant to ECRA, any person who willfully commits, attempts to
commit, or conspires to commit, or aids or abets in the commission of a violation of any regulation,
order, license, or other authorization issued under ECRA shall be guilty of a crime.

ss The most sensitive items subject to EAR controls are identified on the Commerce
Control List (“CCL”), published at 15 C.F.R. part 774, Supp. No. 1. Items on the CCL are
categorized by an Export Control Classification Number (“ECCN”) based on their technical
characteristics. Each ECCN has export control requirements depending on the destination, end user,
and end use.

6. Between March 9, 2020, and May 29, 2024, non-automatic and semi-automatic
firearms equal to .50 caliber (12.7 mm) or less were controlled under ECCN 0A501.a. Firearms
controlled under ECCN 0A501.a were controlled for national security, regional stability, and anti-
terrorism reasons, and required a license for export to Haiti.

wa On May 30, 2024, an Interim Final Rule changed certain CCL designations for
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firearms. Relevant here, after May 30, 2024, firearms are controlled under ECCN 0A501, shotguns
are controlled under ECCN 0A502, semi-automatic rifles equal to .50 caliber or less are controlled
under ECCN 0A506, and semi-automatic pistols equal to .50 caliber or less are controlled under
ECCN 0A507. The firearms designated under these ECCNs are all controlled for national security,
regional stability, firearms convention, crime control, and anti-terrorism reasons, and continue to
require a license for export or reexport from the United States to Haiti.

8. Accordingly, at all times relevant to this Indictment, a license from BIS was required
to export any of the above firearms from the United States to Haiti.

COUNT ONE
(Conspiracy)

9. The allegations in paragraphs 1 through 8 are realleged and incorporated here by
reference.

10. Between in or about July 2020 and on or about December 18, 2024, within the
District of Columbia and elsewhere, the defendant, JEAN ROBERT CASIMIR, did knowingly
and willfully conspire, combine, confederate, and agree together with others known and unknown
to the Grand Jury, to export and cause the exportation of goods from the United States to Haiti,
without having first obtained the required licenses from the Department of Commerce, Bureau of
Industry and Security (“BIS”), which is located in the District of Columbia, in violation of Title 50,
United States Code, Section 4819, and to fraudulently and knowingly export or send goods from
the United States to Haiti contrary to laws and regulations, in violation of Title 18, United States
Code, Section 554.

Purpose of the Conspiracy
11. The purpose of the conspiracy was for CASIMIR and others to export firearms from

the United States to Haiti without the required licenses from BIS in order to profit from the sale of
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those firearms in Haiti, and to conceal the purpose of the conspiracy and the acts committed in
furtherance thereof.
Manner and Means
12. Defendant CASIMIR and other co-conspirators, whose identities are known and
unknown to the Grand Jury, carried out the conspiracy through the following manner and means,
among others:
a. Acquiring firearms from lawful and unlawful sources in the United States;
b. Communicating with potential firearms sellers in the United States and with
potential firearms buyers in Haiti using encrypted messaging applications;
c. Sending and receiving payment for firearms through bank transfers and cash
transfers;
d. Purchasing items, including air compressors, for use in smuggling firearms from the
United States to Haiti;
e. Disassembling and packaging firearms inside other items, including air
compressors, to smuggle firearms from the United States to Haiti; and
f. Failing to obtain the required licenses from BIS for the export of firearms from the
United States to Haiti.
Overt Acts in Furtherance of the Conspiracy
13. In furtherance of the conspiracy and to affect the objects of the conspiracy, the
following overt acts, among others, were committed in the District of Columbia and elsewhere:
a. Between in or around July 2020 and in or around May 2024, CASIMIR used an
encrypted messaging application to communicate with U.S. Person 1 regarding the

purchase of firearms for export to Haiti, including the purchase of one Glock pistol
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and five AR-15 style rifles in or around January 2024.

b. Between in or around August 2020 and in or around August 2024, CASIMIR used
an encrypted messaging application to communicate with Haitian Person 2 regarding
the sale of firearms to Haitian Person 2 in Haiti.

c. Between in or around August 2020 and in or around March 2024, CASIMIR used
an encrypted messaging application to communicate with Haitian Person 3 regarding
the sale of firearms to Haitian Person 3 in Haiti.

d. Between in or around November 2020 and in or around August 2024, CASIMR used
an encrypted messaging application to communicate with U.S. Person 2 regarding
the export of firearms from the United States to Haiti. Among those
communications, CASIMIR discussed the disassembly and packaging of various
firearms inside two large air compressors to smuggle the firearms to Haiti between
in or around January 2024 and in or around August 2024.

e. Between in or around October 2021 and in or around May 2024, CASIMIR
purchased at least 87 firearms in at least 30 separate transactions from U.S. Company
1, including rifles, pistols, and shotguns of various makes and models.

f. In or around March 2023, CASIMIR received funds via wire transfer from Haitian
Person 1 as payment for firearms CASIMIR had exported to Haiti for Haitian Person
1.

g. Between in or around May and in or around June 2024, CASIMIR purchased at least
six AR-15 style upper receiver assemblies from U.S. Company 2.

h. Between in or about September 2023 and in or about August 2024, CASIMIR used

an encrypted messaging application to communicate with U.S. Person 3 regarding
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the export of firearms from the United States to Haiti. Among those
communications, CASIMIR discussed arranging a shipment of firearms from the
United States to Haiti on or about January 4, 2024.
i. In or about October 2023, CASIMIR purchased eight semi-automatic rifles from
U.S. Company 1, a firearms dealer with a Federal Firearms License near West Palm
Beach, Florida.
(Conspiracy to Commit Smuggling and Violate ECRA, in violation of Title 18, United States

Code, Section 371; Title 18, United States Code, Section 554; Title 50, United States Code,
Section 4819)

COUNT TWO
(Export Control Reform Act)

14. The allegations in paragraphs 1 through 14 are realleged and incorporated here by
reference.

15. On or about January 4, 2024, in the District of Columbia and elsewhere, the
defendant, JEAN ROBERT CASIMIR and others known and unknown to the Grand Jury did
knowingly and willfully export and cause to be exported, and attempt to export and cause to be
exported, firearms from the United States to Haiti, without having first obtained the required
licenses from the Department of Commerce, Bureau of Industry and Security, which is located in
the District of Columbia.

(Export Control Reform Act, in violation of Title 50, United States Code, Section 4819)

COUNT THREE
(Smuggling)

16. The allegations in paragraphs 1 through 14 are realleged and incorporated here by
reference.
17. On or about January 4, 2024, in the District of Columbia and elsewhere, the

defendant, JEAN ROBERT CASIMIR and others known and unknown to the Grand Jury did
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fraudulently and knowingly export and send, and attempt to export and send, firearms from the
United States to Haiti, contrary to laws and regulations, that is, the Export Control Reform Act,
Title 50, United States Code, Sections 4801-4852, and the Export Administration Regulations, 15
CER. Parts 730-774, and received, concealed, bought, sold, and facilitated the transportation,
concealment, and sale of such firearms, prior to exportation, knowing the same to be intended for
exportation contrary to such laws and regulations.

(Smuggling, in violation of Title 18, United States Code, Sections 554 and 2)

FORFEITURE ALLEGATIONS

18. The allegations contained in Counts One through Three of this Indictment are hereby
realleged and incorporated by reference for the purpose of alleging forfeitures pursuant to Title 18,
United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c).

19. Upon conviction of the offenses alleged in Counts One through Three of this
Indictment, the defendant, JEAN ROBERT CASIMIR, shall forfeit to the United States any
property, real or personal, which constitutes, or is derived from proceeds traceable to this offense,
pursuant to Title 18, United States Code, Section 981(a)(1)(A) & (C), and Title 28, United States
Code, Section 2461(c). The United States will also seek a forfeiture money judgment for a sum of
money equal to the value of any property, real or personal, which constitutes, or is derived from
proceeds traceable to this offense.

20. The allegations contained in Count Two of this Indictment are hereby realleged and
incorporated by reference for the purpose of alleging forfeitures pursuant to Title 50, United States
Code, Sections 4819(d)(1)(A), (B), and (C).

21. Upon conviction of the offense in violation of Title 50, United States Code, Section

4819 set forth in Count Two of this Indictment, the defendant, JEAN ROBERT CASIMIR, shall
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forfeit to the United States of America, pursuant to Title 50, United States Code, Sections
4819(d)(1)(A), (B), and (C), any property, used or intended to be used, in any manner, to commit
or facilitate the violation; any property constituting or traceable to the gross proceeds taken,
obtained, or retained, in connection with or as a result of the violation; or any property constituting
an item or technology that is exported or intended to be exported in in violation of the charged
offense.

22. Upon conviction of the offenses alleged in Counts One through Three of this
Indictment, defendant shall forfeit to the United States arms or munitions of war or other articles
and any vessel, vehicle, or aircraft containing the same or which has been used in exporting or
attempting to export such arms or munitions of war or other articles relating to these offenses,
pursuant to Title 22, United States Code, Section 401 and Title 28, United States Code, Section
2461(c).

23. The property to be forfeited includes, but is not limited to, the following:

a. Shield Arms SAO-15 Rifle, serial number SA015-53638;
b. Sig Sauer P320 Pistol, serial number 583490649;
c. $20,000 in United States Currency.
24. Inthe event of conviction, the United States may seek a money judgment.

25. If any of the property described above, as a result of any act or omission of the

defendant:
a. cannot be located upon the exercise of due diligence,
b. has been transferred or sold to, or deposited with, a third party;
C. has been placed beyond the jurisdiction of the court,
d. has been substantially diminished in value; or
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€. has been commingled with other property which cannot be divided without
difficulty,
the United States of America shall be entitled to forfeiture of substitute property pursuant to Title
21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section
2461(c).

A TRUE BILL

FOREPERSON

EDWARD R. MARTIN
U.S. ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA
